                 Case 2:14-cr-00044-TLN Document 49 Filed 04/11/14 Page 1 of 3


     MICHAEL CHASTAINE, State Bar #121209
1
     THE CHASTAINE LAW OFFICE
2    2377 Gold Meadow Way, Suite 100
     Gold River, CA 95670
3    Telephone: 916-732-7150
4
     Attorneys for Defendant
5    Peter Kuzmenko
6
7                          IN THE UNITED STATES DISTRICT COURT
8                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10                                               ) Case No.: 2:14 CR 044 MCE
     UNITED STATES OF AMERICA,                   )
11                                               ) STIPULATION AND ORDER
                    Plaintiff,                   ) MODIFYING CONDITONS OF
12                                               ) RELEASE
            v.                                   )
13
                                                 )
     PETER KUZMENKO, et al.,                     )
14                                               )
                    Defendants.                  )
15
16          Peter Kuzmenko is charged, along with his nephew, Arsen Muhtarov, and several
17
     other persons, with a violation of 18 U.S.C. § 286 – conspiracy to defraud the United
18
19   States. On or about March 28, 2014 Arsen Muhtarov was released on conditions.
20   Among those conditions is condition 11 which reads:
21
            You shall not associate or have any contact with the co-defendants listed in this
22
23   case unless in the presence of counsel or otherwise approved in advance by the pretrial

24   services officer, with the exception of your uncles, Aleksandr Kuzmenko and Petr
25
     Kuzmenko.
26
27          Peter Kuzmenko (aka Petr Kuzmenko) is currently released upon conditions.

28   Condition 12 of his release reads:


                                                  1
               Case 2:14-cr-00044-TLN Document 49 Filed 04/11/14 Page 2 of 3


            You shall not associate or have any contact with any of the co-defendants in your
1
2    federal cases, with the exception of Nadia Kuzmenko, Vera Kuzmenko, and Aleksandr
3    Kuzmenko, unless in the presence of counsel or otherwise approved in advance by the
4
     pretrial services officer.
5
6           All of the co-defendants that Mr. Kuzmenko can have contact with are family
7    members. Arsen Muhtarov is Mr. Kuzmenko’s nephew.
8
            I have spoken to the United States Attorney in charge of this case, Michele
9
10   Beckwith and the Pretrial Services Officer, Beth Wetteland and they have no objection to

11   this request.
12
            Therefore, it is stipulated and agreed that condition 12 of Mr. Peter Kuzmenko’s
13
14   conditions of release should read as follows:

15          You shall not associate or have any contact with any of the co-defendants in your
16
     federal cases, with the exception of your sisters, Nadia and Vera Kuzmenko, your
17
18
     brother Aleksandr Kuzmenko, and your nephew, Arsen Muhtarov unless in the presence

19   of counsel or otherwise approved in advance by the pretrial services officer.
20
            All other previously order conditions remain in full force and effect.
21
22   Dated: April 11, 2014                               The CHASTAINE LAW OFFICE
23
                                               By: ____/s/ Michael Chastaine
24                                                   MICHAEL CHASTAINE
                                                     Attorney for Peter Kuzmenko
25
26
27
28


                                                     2
              Case 2:14-cr-00044-TLN Document 49 Filed 04/11/14 Page 3 of 3


     Dated: April 11, 2014                     BENJAMIN B. WAGNER
1
                                               United States Attorney
2
                                               By: ___/s/ Michele Beckwith
3                                                    MICHELE BECKWITH
4                                                    Assistant U.S. Attorney
5
6
7                                              ORDER

8           GOOD CAUSE APPEARING, in that it is the stipulation of the parties:

9
            IT IS HEREBY ORDERED that Condition 12 of Mr. Peter Kuzmenko’s
10
11   Conditions of Release reads as follows:
12          You shall not associate or have any contact with any of the co-defendants in your
13
     federal cases, with the exception of your sisters, Nadia and Vera Kuzmenko, your
14
15   brother Aleksandr Kuzmenko, and your nephew, Arsen Muhtarov unless in the presence

16   of counsel or otherwise approved in advance by the pretrial services officer.
17
            All other previously order conditions remain in full force and effect.
18
19
20
     Dated: April 11, 2014 2014                  /s/Carolyn K. Delaney
21                                               Carolyn K. Delaney
22                                               Magistrate Judge
                                                 United States District Court
23
24
25
26
27
28


                                                  3
